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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,                          :
    Petitioner,                                :
                                               :
                        v.                     :      CIVIL ACTION NO. 20-CV-2675
                                               :
KENNETH EASON, et al.,                         :
    Respondents.                               :

                                              ORDER

       AND NOW, this 12th day of June, 2020, Major George Tillery having filed a petition for

habeas corpus relief pursuant to 28 U.S.C. § 2254 without either paying the filing fee or filing a

motion to proceed in forma pauperis, it is ORDERED that:

       1.      The Clerk of Court shall furnish Tillery with a blank copy of this Court’s current

application to proceed in forma pauperis (short form) bearing the above civil action number.

       2.      If Tillery seeks to proceed with this case he must, within thirty (30) days of the

date of this Order, either (1) pay the required $5 filing fee to the Clerk of Court, or (2) complete

and return the application to proceed in forma pauperis, including the required certification of

prison assets signed by a prison official, to the Clerk of Court.

       3.      If Tillery fails to comply with this Order his case may be dismissed without

further notice for failure to prosecute.

                                               BY THE COURT:

                                               /s/Petrese B. Tucker
                                               ___________________________________
                                               PETRESE B. TUCKER, J.
